Case 1:17-cv-02800-LTB Document 8 Filed 01/16/18 USDC Colorado Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. 17-cv-02800-GPG

CALVIN JOHNSON,

       Plaintiff,

v.

JOHN DOE (going to be at least 2 or more “John Does”),

       Defendants.


                                  ORDER OF DISMISSAL


       Plaintiff, Calvin Johnson, is a prisoner in the custody of the Colorado Department

of Corrections (“DOC”) at the Sterling Correctional Facility in Sterling, Colorado. Mr.

Johnson initiated this action by filing pro se a Prisoner Complaint (ECF No. 1) pursuant to

42 U.S.C. § 1983 claiming his constitutional rights were violated in September 2016 while

he was incarcerated at the Colorado State Penitentiary. On November 28, 2017,

Magistrate Judge Gordon P. Gallagher ordered Mr. Johnson to file an amended

complaint that includes specific factual allegations in support of his claims. On

December 13, 2017, Mr. Johnson filed an amended Prisoner Complaint (ECF No. 7).

       The Court must construe the amended Prisoner Complaint liberally because Mr.

Johnson is not represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520‑21

(1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). If the amended Prisoner

Complaint reasonably can be read “to state a valid claim on which the plaintiff could

prevail, [the Court] should do so despite the plaintiff’s failure to cite proper legal authority,
Case 1:17-cv-02800-LTB Document 8 Filed 01/16/18 USDC Colorado Page 2 of 7




his confusion of various legal theories, his poor syntax and sentence construction, or his

unfamiliarity with pleading requirements.” Hall, 935 F.2d at 1110. However, the Court

should not be an advocate for a pro se litigant. See id.

       Mr. Johnson has been granted leave to proceed in forma pauperis pursuant to 28

U.S.C. § 1915. Therefore, the Court must dismiss the action if the claims in the

amended Prisoner Complaint are frivolous. See 28 U.S.C. § 1915(e)(2)(B)(i). A legally

frivolous claim is one in which the plaintiff asserts the violation of a legal interest that

clearly does not exist or asserts facts that do not support an arguable claim. See Neitzke

v. Williams, 490 U.S. 319, 327‑28 (1989). The Court will dismiss the action as legally

frivolous pursuant to § 1915(e)(2)(B)(i).

       Mr. Johnson’s claims arise out of an incident in September 2016 when he was

involved in a fight with an inmate named Tim Grant in the prison dayhall. Mr. Johnson

alleges that officers responded to the fight and, while standing behind a closed door

outside of the dayhall, ordered both inmates to lie down on the floor on their stomachs

facing away from the door. He further alleges that both inmates complied with this order.

According to Mr. Johnson, Mr. Grant then was ordered to get up and back up to the door

in order to be handcuffed through a slot in the door. Mr. Johnson asserts that, although

Mr. Grant initially appeared to comply with the order to be handcuffed, Mr. Grant

assaulted Mr. Johnson about ten seconds later by hitting him in the head, neck, and back

while Mr. Johnson remained on the floor in a vulnerable position. Mr. Johnson contends

that, after he was assaulted, he jumped up and saw Mr. Grant running away and into the

officers who had entered the dayhall.

                                               2
Case 1:17-cv-02800-LTB Document 8 Filed 01/16/18 USDC Colorado Page 3 of 7




       Mr. Johnson claims his Eighth Amendment rights were violated because the

responding officers failed to protect him from being assaulted by Mr. Grant. According to

Mr. Johnson, the officers should have entered the dayhall as soon at least three officers

were present and that, even from outside the dayhall, they could have used a taser or

pepper spray to stop Mr. Grant as he moved away from the door to assault Mr. Johnson.

Mr. Johnson also claims his right to equal protection was violated because he was

charged with a disciplinary offense stemming from the initial fight but he believes Mr.

Grant was not.

       The Court first will address the Eighth Amendment claim. The Eighth

Amendment’s “prohibition of cruel and unusual punishment imposes a duty on prison

officials to provide humane conditions of confinement, including adequate food, clothing,

shelter, sanitation, medical care, and reasonable safety from serious bodily harm.”

Tafoya v. Salazar, 516 F.3d 912, 916 (10th Cir. 2008). In order to state an arguable

Eighth Amendment claim Mr. Johnson must allege specific facts that demonstrate

deliberate indifference to a substantial risk of serious harm. See Farmer v. Brennan, 511

U.S. 825 (1994); Tafoya, 516 F.3d at 916. “A claim of deliberate indifference includes

both an objective and a subjective component.” Al-Turki v. Robinson, 762 F.3d 1188,

1192 (10th Cir. 2014). Thus, Mr. Johnson must allege facts demonstrating both that the

injury he suffered was sufficiently serious and that prison officials acted with deliberate

indifference. See Tafoya, 516 F.3d at 916. Under the objective prong “extreme

deprivations are required to make out a conditions-of-confinement claim.” Hudson v.

McMillian, 503 U.S. 1, 9 (1992). Thus, the Eighth Amendment is not violated unless the

                                              3
Case 1:17-cv-02800-LTB Document 8 Filed 01/16/18 USDC Colorado Page 4 of 7




conditions deprive a prisoner of “‘the minimal civilized measure of life’s necessities.’”

Wilson v. Seiter, 501 U.S. 294, 298 (1991) (quoting Rhodes v. Chapman, 452 U.S. 337,

347 (1981)). Under the subjective prong “a prison official may be held liable . . . only if he

knows that inmates face a substantial risk of serious harm and disregards that risk by

failing to take reasonable measures to abate it.” Farmer, 511 U.S. at 847.

       Mr. Johnson’s allegations in support of his Eighth Amendment claim do not

demonstrate the responding officers acted with deliberate indifference. Mr. Johnson

concedes that the fight with Mr. Grant ended without the responding officers entering the

dayhall and that he and Mr. Grant both complied with an order to lie down on the floor.

Mr. Johnson also concedes that the responding officers entered the dayhall when Mr.

Grant subsequently attacked him while he still was lying on the floor. Even assuming the

responding officers knew the inmates posed a substantial risk of serious harm to each

other after they had complied with the order to lie down on the floor, Mr. Johnson does not

allege facts that demonstrate the responding officers failed to act reasonably to abate the

risk. Instead, it is apparent that the officers reasonably responded to that risk by

attempting to place the inmates in handcuffs one at a time. Mr. Johnson does not allege

that the responding officers knew Mr. Grant would launch a new attack if he was allowed

to get up in order to be the first one to be placed in handcuffs. Furthermore, Mr. Grant’s

failure to comply with the attempt to restrain him does not mean the steps taken by the

responding officers were unreasonable. Mr. Johnson’s speculation that the assault

could have been prevented if the officers had entered the dayhall sooner or if they had

used a taser or pepper spray when Mr. Grant failed to comply also does not demonstrate

                                              4
Case 1:17-cv-02800-LTB Document 8 Filed 01/16/18 USDC Colorado Page 5 of 7




the responding officers acted unreasonably. Therefore, the Eighth Amendment claim

will be dismissed as legally frivolous.

       Mr. Johnson’s equal protection claim also lacks merit. “Equal protection of the

laws doesn’t guarantee equal results for all.” SECSYS, LLC v. Vigil, 666 F.3d 678, 684

(10th Cir. 2012) (internal quotation marks omitted). Instead, the Equal Protection Clause

“seeks to ensure that any classifications the law makes are made without respect to

persons, that like cases are treated alike, that those who appear similarly situated are not

treated differently without, at the very least, a rational reason for the difference.” Id.

(internal quotation marks omitted); see also Price-Cornelison v. Brooks, 524 F.3d 1103,

1109-10 (10th Cir. 2008) (discussing elements of an equal protection claim). Because

Mr. Johnson alleges he was treated differently as an individual, the Court analyzes the

claim through equal protection’s so-called “class of one” doctrinal prism. See Shifrin v.

Toll, 483 F. App’x 446, 449 (10th Cir. 2012) (considering equal protection claim under

class of one theory in the absence of allegations that plaintiff was treated differently

because of his sex, race, religion, or membership in some other cognizable group). Of

course,

              a class of one claim must proceed through essentially the
              same two steps a plaintiff alleging a class-based claim must.
              First, the class of one plaintiff must show he or she (as
              opposed to a class in which he is a member) was intentionally
              treated differently from others similarly situated. Second,
              when intentional discrimination is shown to exist the plaintiff
              must prove there is no rational basis for it.

SECSYS, 666 F.3d at 688 (internal citations and quotation marks omitted). The first

element “is especially important in class-of-one cases” and a class-of-one plaintiff must

                                              5
Case 1:17-cv-02800-LTB Document 8 Filed 01/16/18 USDC Colorado Page 6 of 7




“provide a specific and detailed account of the nature of the preferred treatment of the

favored class.” Jennings v. City of Stillwater, 383 F.3d 1199, 1213-14 (10th Cir. 2004).

“[I]t is exceedingly difficult to demonstrate that any difference in treatment is not

attributable to a quirk of the plaintiff or even to the fallibility of administrators whose

inconsistency is as random as it is inevitable.” Jicarilla Apache Nation v. Rio Arriba

County, 440 F.3d 1202, 1213 (10th Cir. 2006). Thus, “courts have imposed exacting

burdens on plaintiffs to demonstrate similarity in class-of-one cases.” Id.

       Mr. Johnson fails to allege specific facts that demonstrate he intentionally was

treated differently than a similarly situated inmate. His speculation that Mr. Grant may

not have been charged with a disciplinary offense is not sufficient to state a cognizable

constitutional claim that he has been denied equal protection. See Ketchum v. Cruz, 775

F. Supp. 1399, 1403 (D. Colo. 1991) (vague and conclusory allegations that his rights

have been violated do not entitle a pro se pleader to a day in court regardless of how

liberally the pleadings are construed), aff’d, 961 F.2d 916 (10th Cir. 1992); see also Hall,

935 F.2d at 1110 (“[I]n analyzing the sufficiency of the plaintiff’s complaint, the court need

accept as true only the plaintiff’s well-pleaded factual contentions, not his conclusory

allegations.”). Furthermore, even assuming Mr. Grant was not charged with a

disciplinary offense regarding the initial fight, Mr. Johnson fails to allege specific facts that

demonstrate he and Mr. Grant are similarly situated with respect to their relative

involvement in that altercation. Therefore, the equal protection claim also will be

dismissed as legally frivolous.

       The Court also certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from

                                               6
Case 1:17-cv-02800-LTB Document 8 Filed 01/16/18 USDC Colorado Page 7 of 7




this order would not be taken in good faith and therefore in forma pauperis status will be

denied for the purpose of appeal. See Coppedge v. United States, 369 U.S. 438 (1962).

If Plaintiff files a notice of appeal he also must pay the full $505 appellate filing fee or file a

motion to proceed in forma pauperis in the United States Court of Appeals for the Tenth

Circuit within thirty days in accordance with Fed. R. App. P. 24. Accordingly, it is

       ORDERED that the amended Prisoner Complaint (ECF No. 7) and the action are

dismissed as legally frivolous pursuant to 28 U.S.C. § 1915(e)(2)(B)(i). It is

       FURTHER ORDERED that leave to proceed in forma pauperis on appeal is denied

without prejudice to the filing of a motion seeking leave to proceed in forma pauperis on

appeal in the United States Court of Appeals for the Tenth Circuit.

       DATED at Denver, Colorado, this          16th    day of     January          , 2018.

                                                       BY THE COURT:



                                                        s/Lewis T. Babcock
                                                       LEWIS T. BABCOCK, Senior Judge
                                                       United States District Court




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